     Case 2:24-cv-07544-TJH-AS        Document 1     Filed 09/04/24    Page 1 of 31 Page ID #:1




      Steven J. Mirsky (SBN 297370)
 1    MIRSKY CORPORATE ADVISORS, APC
 2    901 Dove. St, Ste. 120
      Newport Beach, CA 92660
 3    (949) 200-6837
      Email : smirsky@mirskycorporateadvisors.com.
 4    Attorney for Plaintiffs
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 8                             UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA
10
      SDLA COURIER SERVICE,              INC. , a    Case No.:
11
      California corporation;   and       JAMES      Hon.
12    GOODMAN, JR. , an individual,

13                              Plaintiffs.
                                                     VERIFIED COMPLAINT FOR:
14                 V.
      UNLIMITED CAP ITAL, LLC, a Connecticut            1. RICO, 18 U.S.C. § 1962
15    limited  liability company;    TRITON
                                                        2. Conspiracy, 18 U. S.C. § 1962(d)
      RECOVERY, LLC, a Florida limited liability
16
      company; SAMUEL STERNS, an individual;            3. Usury, Cal. Const. Art. XV, Sec.
17    LEOPOLD VARGAS , an individual; ERICA
      GILERMAN, an individual; and DOES 1-20.              1 and Cal. Civ. Code § 1916-3
18
                                                        4. Unfair and Deceptive Acts and
19
                                                           Practices, Cal. Bus. & Prof.
20
                                                           Code § 17200
21
                                                        5. Intentional Interference with
22
                                                           Contractual Relations
23
                                                        6. Breach of Contract
24
                                                        7. Breach of Implied Covenant of
25
                                                           Good Faith & Fair Dealing
26
                                                        8. Fraudulent Misrepresentation
27
                                                        9. Unjust Enrichment
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                                         VERIFIED COMPLAINT - I
     Case 2:24-cv-07544-TJH-AS            Document 1         Filed 09/04/24       Page 2 of 31 Page ID #:2




 1                                                     COMPLAINT

 2            PLAINTIFFS SDLA COURIER SERVICE, INC. ("SDLA") and JAMES GOODMAN,

 3    JR ("Goodman") (collectively, "Plaintiffs"), by and through their undersigned attorney, bring

 4    this suit against DEFENDANTS UNLIMITED CAPITAL, LLC, a Connecticut limited liability

 5    company ("Unlimited"), TRITON RECOVERY, LLC, a Florida limited liability company

 6    ("Triton"), Samuel Stems, an individual ("Sterns"), Leopold Vargas, an individual ("Vargas"),

 7    Erica Gilerman, ("Gilerman"), DOES 1-20 (collectively, "Defendants") and hereby alleges as

 8    follows:

 9                                              INTRODUCTION

10        1. Plaintiff SDLA is a California business engaged in providing courier services for its

11    only customer, Amazon Inc ("Amazon"). Prior to the events giving rise to this Complaint,

12    SDLA was the nation' s largest courier service provider for Amazon and employed dozens of

13    people. Although SDLA has operated profitably for nearly a decade, SDLA has required

14    financing to support its growth. When SDLA was unable to receive funding in a timely manner

15    from commercial banks, it fell prey to a business financing scheme known as "Merchant Cash

16    Advance" or "MCA" financing. As a result of the Merchant Cash Advance Agreements and

17    the predatory lending and collection practices of the Defendants, in a period of less than a year,

18    SDLA went from a profitable enterprise to an insolvent enterprise as Defendants froze SDLA' s

19    bank accounts, which, in turn, resulted in Amazon terminating its contract with SDLA.

20        2. SDLA' s dramatic and rapid downfall was a direct result of concerted fraudulent and

21    illegal lending practices of Defendants, Unlimited Capital, LLC, and its affiliated entities and

22    persons, including Triton Recovery, LLC, that California law defines as "loan sharking" 1.
23

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                      1
26                       Cal. Civ. Code § 1916-3 ((b) Any person who willfully makes or negotiates, for himsel
      or another, a loan of money, credit, goods, or things in action, and who directly or indirectly charges
27    contracts for, or receives with respect to any such loan any interest or charge of any nature, the value o
      which is in excess of that allowed by law, is guilty of loan-sharking, a felony, and is punishable b
28    imprisonment in the state prison for not more than five years or in the county jail for not more than on
      year.")

                                             VERIFIED COMPLAINT - 2
     Case 2:24-cv-07544-TJH-AS           Document 1        Filed 09/04/24      Page 3 of 31 Page ID #:3




 1    Defendants and their affiliates are lending money at extremely high rates of interest, under

 2    unlawful conditions, and with draconian consequences for non-payment.

 3        3. In an effort to bypass California and federal laws, Defendants have been operating in

 4    concert with each other to engage in so-called "Merchant Cash Advance" transactions, which

 5    are carefully disguised predatory loans. By avoiding the words "loan" and "interest" and

 6    invoking favorable procedural laws in foreign states that have nothing to do with the

 7    commercial terms of the transaction, Defendants intentionally sought to evade legal

 8    requirements for conducting business in the State of California and with California businesses.

 9    As a result, the transactions between SDLA and Defendants failed to comply with the

10    California' s Constitutional prohibitions on usurious loans, a California lender' s license required

11    by California Financial Code §§ 22000, et seq., and failure to comply with numerous other

12    laws, including Cal. Corp. Code§§ 2105 , 2203 and Cal. Rev. & Tax. Code § 23304.1.

13       4. Defendant Unlimited made at least two (2) usurious loans to SDLA and guaranteed by

14    Plaintiff Goodman, one of which is at issue in this Complaint (the "MCA Agreement").

15    According to the MCA Agreement, Unlimited provided SDLA with a sum of money equal to

16    $340,000 in exchange for an absolute obligation to repay Unlimited $989,340.00 over a term

17    of 110 days, the equivalent of a 235% loan. It is against this background that Plaintiffs file this

18    Complaint.

19       5. Defendants, all affiliated with Unlimited, collectively operate as a classic predatory

20    lender, whose unlawful and fraudulent business practices, coupled with unlawful collection

21    tactics destroy California businesses while unjustly enriching themselves.

22       6. Pursuant to the "Merchant Agreement", i.e. the MCA Agreement, Unlimited

23    purportedly paid lump sums of cash to SDLA to allegedly purchase SDLA' s future receivables

24    at a discount and SDLA, in turn, agreed to repay the face value of its receipts through daily

25    payments to Unlimited.

26       7. While nominally identified as a purchase of future receivables, the terms of the MCA

27    Agreement, along with the Defendants' actions, demonstrate that despite the form of their

28    agreement, no sale of actual receivables took place and that the form of the MCA agreement


                                            VERIFIED COMPLAINT - 3
     Case 2:24-cv-07544-TJH-AS             Document 1     Filed 09/04/24      Page 4 of 31 Page ID #:4




 1    was merely a sham to evade applicable lender and usury laws. In reality, the parties entered into

 2    a transaction where the effective interest rate exceeded 235% - a rate far greater than the

 3    maximum 10% permitted under California law by a lender without a California Finance

 4    Lender' s License.

 5        8. Unlimited, pursuant to the terms of the MCA Agreement, and by its conduct, does not

 6    bear the risk that would ordinarily be associated with a true sale. Instead, the MCA Agreement

 7    transfers all risk to Plaintiffs, as borrower. As a result, Unlimited never made a bona fide

 8    purchase of SDLA's receivables and the transaction constitutes a usurious loan.

 9        9. Plaintiff SDLA already requested and obtained a temporary restraining order relating to

10    the MCA Agreement in Connecticut state court. But, under financial duress, SDLA was induced

11    to enter into a settlement agreement to strictly enforce the same fraudulent and usurious

12    structure as the MCA Agreement. Defendants know that it was impossible for SDLA to comply

13    with its terms - but pushed them to sign the settlement agreement or otherwise face bankruptcy.

14        10. The State of California' s usury limitations are a fundamental policy of the State of

15    California that are enshrined in Article XV of the California Constitution. California courts

16    have rejected efforts to suborn, evade, or dilute this fundamental legal protection for California

17    individuals and businesses through artifice, fraud, deceit, and clever drafting.

18        11. This action encompasses various state and federal causes of action relating to the

19    usurious loan and unconscionable agreements, as well as Defendant's conduct to collect on

20    them, including broader claims for violations of the Racketeer Influenced and Corrupt
21    Organizations Act ("RICO") and Conspiracy.

22        12. The causes of action are brought against Unlimited, its affiliate Triton, and three
23    affiliated persons Stems, Vargas, Gilerman, and Does 1-20 for their roles in the predatory

24    practices at issue in this matter.

25                                     JURISDICTION AND VENUE

26        13 . This Court has jurisdiction over the subject matter pursuant to 28 U.S .C. § 1331. This
27    Court has supplemental jurisdiction over the state law claims under 28 U.S.C. § l 367(a) as such
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                                             VERJFJED COMPLAINT - 4
     Case 2:24-cv-07544-TJH-AS           Document 1        Filed 09/04/24      Page 5 of 31 Page ID #:5




 1    claims are so related to the claims in the action within such original jurisdiction and contain the

 2    same nucleus of facts that they form the same case or controversy.

 3        14. Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2) as a substantial

 4    part of the events or omissions giving rise to the claim occurred in this jurisdiction.

 5        15. This Court has personal jurisdiction over the nonresident Defendants because they (1)
 6    purposefully directed activities and consummated the MCA Agreement with a California

 7    resident; (2) the claims arise from or relates to the Defendants' forum-related activities in

 8    making and attempting to collect on a usurious loan; (3) upon information and belief,

 9    Defendants solicit or engage in business in the forum state; (4) upon information and belief, the

10    Defendants conspired to engage in unlawful activity within the forum state; and (5) exercise of

11    jurisdiction comports with due process notions of fair play and substantial justice.

12                                               THE PARTIES

13        16. Plaintiff SDLA Courier Services, Inc. ("SDLA") is a California corporation with a

14    principal place located at 1865 W. 222 nd Street, Ste. B, Torrance, CA 90501 , which is located

15    in the Central District of California.

16        17. Plaintiff James Goodman, Jr. ("Goodman") is an individual and sole shareholder of

17    SDLA.

18        18. Defendant Unlimited Capital LLC ("Unlimited") is a Connecticut limited liability

19    company with a principal place of business located at 500 W. Putnam Ave., Ste. 400, Greenwich,

20    CT 06830. Upon information and belief, Unlimited also operates out of offices located at 2613

21    El 6th St, Brooklyn, NY 11235 without being registered as a foreign limited liability company
22    in the State of New York. Upon information and belief, Unlimited is not registered as a foreign
23    limited liability company in the State of California. Upon information and belief, Unlimited
24    Capital is not possession of a California Finance Lender's License granted by the State of

25    California, Department of Financial Protection and Innovation.
26        19. Defendant Triton Recovery LLC ("Triton") is a Florida limited liability company with

27    a principal place of business located at 19790 W. Dixie Hwy 301 , Miami, FL 33180. Upon
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                                               VER1FIED COMPLAINT - 5
     Case 2:24-cv-07544-TJH-AS          Document 1        Filed 09/04/24       Page 6 of 31 Page ID #:6




 1    information and belief, Triton is not registered as a foreign limited liability company in the

 2    State of California or in the State of New York.

 3       20. Defendant Samuel Stems ("Sterns") is an individual residing in an unknown location.

 4    Upon information and belief, Sterns is an officer and/or agent of Unlimited.

 5       21. Defendant Leopold Vargas ("Vargas") is an individual residing in an unknown location.

 6    Upon information and belief, Vargas is the Chief Executive Officer of Unlimited.

 7       22. Defendant Erica Gilerman ("Gilerman") is an individual residing in an unknown

 8    location. Upon information and belief, Gilerman is the Chief Legal Officer of Triton.

 9        23 . Defendant Does 1-20 are other individuals or entities, presently unidentified, that upon

10    information and belief are also engaged, directly or indirectly, in the conduct giving rise to this

11    Complaint. Plaintiffs are unaware of the names of these other potential defendants who may be

12    responsible for the unlawful practices, acts, conduct, and occurrences alleged therein. Plaintiffs

13    will seek leave of the Court to amend this Complaint to allege the true names and capacities of

14    these unknown defendants and to detail the roles they played, once their identities and/or

15    manner of participation in the wrongful conduct herein is ascertained.

16       24. Upon information and belief, at all relevant times and as alleged more fully herein, each

17    Defendant acted as an agent, servant, employee, co-conspirator, alter-ego and/or joint venturer

18    of one or more of the other Defendants, and in doing the things alleged herein, acted within the

19    course and scope of such agency, employment, alter-ego and/or in furtherance of the joint

20    venture. Upon information and belief, each of the Defendants' acts alleged herein were done

21    with the permission and consent of each of the other Defendants.

22                               BACKGROUND OF MCA INDUSTRY

23               A. The Predatory MCA Industry

24       25. The merchant cash advance ("MCA") industry specializes in providing high-risk, high
25    interest rate loans to small and mid-size businesses. As a whole, the MCA industry seeks to
26    hide within the gray areas of the law, attempting to take advantage of procedural remedies and
27    loopholes in distant state courts to disguise its predatory lending practices.
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                                            VERIFIED COMPLAINT - 6
     Case 2:24-cv-07544-TJH-AS                    Document 1           Filed 09/04/24       Page 7 of 31 Page ID #:7




 1           26. The Federal Deposit Insurance Corporation ("FDIC") has stated that "predatory lending"

 2    involves at least one of the following elements: (1) making unaffordable loans based on the

 3    assets of the borrower rather than on the borrower's ability to repay an obligation; (2) inducing

 4    a borrower to refinance a loan repeatedly in order to charge high points and fees each time the

 5    loan is refinanced ... ; or (3) engaging in fraud or deception to conceal the true nature of the loan

 6    obligation, or ancillary products, from an unsuspecting and unsophisticated borrower." 2

 7           27. MCA companies frequently require unaffordable payments that they know the debtor is

 8    unlikely to repay. They further leverage various legal and contractual processes to guarantee

 9    full repayment under the contracts. Generally speaking, MCA companies will sue a borrower
10    with the intent to obtain a default judgement, knowing that the borrower is unlikely to retain

11    counsel because they cannot afford it. In other cases, MCA companies will initiate a lawsuit

12    with the intent of forcing a borrower to enter into an onerous settlement agreement, whereby a

13    debtor remains obligated to make all the remaining payments and waive any rights to prosecute

14    a claim against the MCA lender.

15                    B. MCA Agreements Are Substantively and Procedurally Unconscionable

16           28. Generally, MCA agreements are unconscionable contracts of adhesion that are not

17    negotiated at arms-length. MCA agreements further target businesses facing a cash crunch and

18    possible closure.

19           29. Such agreements often contain many one-sided terms that seek to place all risk of loss
20    on the borrower and maximize the lender's ability to collect full payment under the contract.

21           30. Among the one-side terms that are typical in MCA agreements are: (1) a provision

22    giving the MCA company an irrevocable right to withdraw money directly from the merchant's

23    bank accounts, including collecting checks and signing invoices in the merchant' s name; (2) a
24    provision preventing the merchant from transferring, moving or selling the business or any
25    assets without permission from the MCA company, (3) a one-sided attorneys ' fees provision

26    obligating the merchant to pay the MCA company' s attorneys' fees but not the other way
27
28
      2
          https://www.fdic.gov/news/financial-institution- letters/2007 /ti 107006a.htm I
                                                    VERIFIED COMPLAINT - 7
     Case 2:24-cv-07544-TJH-AS          Document 1        Filed 09/04/24      Page 8 of 31 Page ID #:8




 1    around; (4) venue and choice-of-law provisions requiring the merchant to litigate in a foreign

 2    jurisdiction under the laws of a foreign jurisdiction with substantive law more favorable to the

 3    MCA company, (5) waivers of the borrower' s procedural defenses; (6) a personal guarantee,

 4    the revocation of which is an event of default, (7) a jury trial waiver, (8) a class action waiver,

 5    (9) a collateral and security agreement providing a UCC lien over all of the merchant's assets,

 6    (10) a prohibition against obtaining financing from other sources, (11) an assignment of lease

 7    of the merchant's premises in favor of the MCA company, (12) the right to direct all credit card

 8    processing payments to the MCA company, (13) a power-of-attorney permitting the MCA

 9    lender to take any action or execute any instrument or document to settle all obligations due;

10    and (16) consent to electronic communications on behalf of the merchant and the merchant' s

11    associates in order to collect payment.

12         31.       Generally, MCA agreements are also unconscionable because they contain

13    numerous knowingly false statements. Among these knowingly false statements are that: (1)

14    the transactions are not loans, (2) the weekly payment is a good-faith estimate of the receivables,

15    (3) the fixed weekly payment is for the borrower' s convenience, (4) there is no repayment term;

16    (5) the automated ACH program is a labor-intensive (and not automated) process requiring the

17    MCA company to charge an exorbitant ACH Program Fee or Origination Fee.

18         32.       In addition, the MCA Agreements are unconscionable because they are designed

19    to fail and cause the merchant to default. Among other things, the MCA Agreements are

20    designed to result in a default in the event that the merchant business suffers any downturn in

21    revenues (1) because the reconciliation provision will not, in any case, result in an adjustment

22    of the daily remittance; (2) by preventing the merchant from obtaining other financing, (3 ) and

23    by requiring the merchant to continuously represent and warrant that there has been no material

24    adverse changes, financial or otherwise, in such condition, operation, or ownership of the

25    merchant.

26       33. In addition, MCA agreements also generally contain numerous penalties that violate

27    fundamental public policy of California. Among these improper penalties, the MCA agreements

28    (1) require the merchant to sign a confession of judgment entitling the MCA company to


                                            VERIFIED COMPLAINT - 8
     Case 2:24-cv-07544-TJH-AS           Document 1        Filed 09/04/24       Page 9 of 31 Page ID #:9




 1    liquidated attorneys' fees based on a percentage of the amount owed rather than a good-faith

 2    estimate of the attorneys ' fees required to file a confession of judgment, (2) accelerate the entire

 3    debt upon an Event of Default, and (3) require the merchant to tum over 100% of all of its

 4    receivables if it misses just one fixed payment.

 5                          FACTUAL BACKGROUND OF THIS DISPUTE

 6                                          The MCA Agreement

 7        34. As alleged above, SOLA is a courier service that delivers packages for a single

 8    customer: Amazon. Under SDLA's contract with Amazon, SDLA must deliver packages in a

 9    certain order and under certain conditions in order to be paid. Payment from Amazon often

10    comes after significant delays. All of SDLA's revenue came from Amazon.

11        35. Beginning in or around Winter or Spring 2024, SDLA sought financing to assist

12    business growth. SDLA was induced into signing agreements with Unlimited.

13        36. Unlimited Capital and SDLA entered into at least two (2) separate financing

14    Agreements between March and June 2024. Presently, Unlimited and SDLA are parties to only

15    one MCA Agreement dated June 3, 2024 ("MCA Agreement") because, based on information

16    and belief, debt incurred under the March 2024 agreement was "rolled" into the MCA
17    agreement.

18       37. The MCA Agreement consists of "Terms and Conditions" with several addenda. Each

19    page of the MCA Agreement is written in an extremely small font size less than 10-point font

20    which makes it hard for the parties to read or understand the contract terms.
21                 A. Payment Terms

22       38. The MCA Agreement purportedly purchased SDLA' s "future receivables" (i.e.,
23    receivables for goods and services that have not yet been rendered and do not yet exist), in
24    exchange for a sum of money.

25       39. The MCA Agreement alleges that Unlimited purchased $989,340.00 (the "Purchased
26    Amount") at a purchase price of $660,000.00 (the "Purchase Price") in exchange for daily

27    remittances of $8,999.00 (the "Remittance").
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                                            VERJFIED COMPLAINT - 9
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 10 of 31 Page ID
                                                #:10



 1       40. Unlimited, in its sole discretion, determined the Purchased Amount, the Purchase Price,

 2   and the Remittance. SDLA did not have any right to determine the value or the payment

 3   structure of the so-called "sale." As a result, the MCA Agreement does not constitute a bona

 4   fide credit sale.

 5       41. The MCA Agreement alleges that Unlimited calculated the Remittance as a "good faith

 6   estimate" of "(a) the Purchase Percentage multiplied by (b) the daily average revenues of

 7   Merchant during the previous calendar month divided by (c) the number of Business Days ... in

 8   such calendar month." The MCA Agreement does not specify how Unlimited defines the
 9   Purchased Percentage nor how it obtains the value for the "daily average revenues of Merchant

10   during the previous calendar month."
11       42. The MCA Agreement further provides that Unlimited will "debit an amount equal to

12   the Remittance .. . until such time that [Unlimited] receives payment in full of the Purchased
13   Amount."

14       43. Although the MCA Agreement purports to deliver the Purchase Price to SDLA, the

15   MCA Agreement also requires SDLA to "pay" Unlimited certain fees which include an

16   "underwriting fee" equal to "20% of the Purchased Amount" in addition to other fees related to

17   origination fees , ACH fees, wire fees, bank charge fees, and myriad other fees that resulted in

18   a unilateral reduction of the Purchase Price.

19       44. Bottom line, although Unlimited purported to purchase $660,000.00 of future

20   receivables, upon information and belief, Unlimited only delivered a sum of $340,000.00 to
21   SDLA.

22               B. The MCA Agreement Transfers Risk of Loss to Borrower
23       45. The MCA Agreement also contained numerous provisions to transfer risk of loss away

24   from Unlimited and solely onto Plaintiffs. Such provisions include: (1) a sham reconciliation
25   clause; (2) a defined term; (3) the granting of a security interest; (4) a personal guaranty; (5)
26   clauses permitting so-called "Protections Against Default"; and (6) general provisions that grant
27   Unlimited one-sided procedural and substantive rights to enforce the term of the MCA
28   Agreement, such as a prejudgment remedy waiver.


                                          VERJFIED COMPLAINT - 10
     Case 2:24-cv-07544-TJH-AS           Document 1 Filed 09/04/24            Page 11 of 31 Page ID
                                                 #:11



 1                       1.   Sham Reconciliation Provision

 2      46. The MCA Agreement contains a conditional reconciliation prov1s1on. Section 1.3

 3   entitled "Adjustment to the Remittance" alleges the merchant is permitted to "request a change

 4   in the Remittance" to "more accurately reflect the Purchased Percentage of Receipts being

 5   collected" once every two calendar weeks provided that an Event of Default has not occurred.

 6   As such, the adjustment provision merely permits Unlimited to adjust the Remittance such that

 7   it obtains the amount it purchased - it does not permit an adjustment based on the actual

 8   performance of the borrower' s business.

 9                      ii. Implied Term

10      47. The MCA Agreement provides an implied payment term, since the Remittance amount

11   is fixed and not subject to actual adjustment. It is possible to determine the implied term by

12   dividing the "Purchased Amount" by the "Remittance Amount."

13      48. Here, the estimated term is 110 calendar days. In other words, Unlimited expected a
14   190% return on investment in 110 calendar days.

15                     iii. Granting of Overly Broad Security Interest

16      49. The MCA Agreement contains an addendum entitled "Security Agreement" to secure

17   "all of Merchant's payment and performance obligations" under the Agreement.

18       50. Rather than taking a security interest in merely the future receivables of SDLA, the

19   security agreement grants Unlimited with a security interest in Collateral, which is broadly

20   defined as follows: "(a) all accounts, chattel paper, document, equipment, general intangibles,
21   instruments, and inventory, as those terms are each defined in Article 9 of the Uniform

22   Commercial Code in effect in any applicable jurisdiction and as may be amended from time to
23   time, (b) all funds at any time in any Account, regardless of the source of funds; (c) present and
24   future electronic check transactions and (d) all proceeds of the foregoing as such term is defined
25   in Article 9 of the UCC."

26      51. In addition, under the security agreement, SDLA must also provide "other security to
27   [Unlimited] upon request to secure [SDLA' s] obligations under the Agreement."
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                                          VERIFIED COMPLAINT - 11
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24             Page 12 of 31 Page ID
                                                #:12



 1      52. The security agreement also permits Unlimited to exercise the security interest "without

 2   notice or demand of any kind by making an immediate withdrawal or freezing of the Collateral"

 3   and grants Unlimited with the ability to "execute all such instruments and documents in

 4   [SDLA' s] and Guarantor's name."

 5      53 . As such, the security agreement grants Unlimited with recourse against the borrower for

 6   failure to make a payment against any and all assets of the borrower and the guarantor.

 7                     iv. Personal Guaranty

 8      54. Unlimited further transfers risk of loss by requiring a personal guaranty from Goodman.

 9      55. The Guaranty requires that Guarantor guarantee "jointly and severally" the

10   "performance of all of the representations, warranties, and covenants" in the MCA Agreement

11   and that Guarantor' s obligations are "due at the time of any breach ... or upon the occurrence of

12   an Event of Default."

13                      v. Protections Against Default

14      56. Section 1.11 sets forth certain "Protections Against Default." In essence, these so-called

15   "protections" are remedies that Unlimited may exercise "immediately and without notice" upon

16   an event that hinders, restricts, or limits Unlimited ability to collect payments under the MCA
17   Agreement.

18      57. Such "protections" permit Unlimited to (1) "collect the full uncollected Purchased

19   Amount plus all fees (including reasonable attorneys' fees" due under this Agreement and the

20   other MCA Documents become due and payable in full immediately"; (2) "enforce the

21   provisions" of the Guaranty against Guarantor; (3) "enforce its security interest in the
22   Collateral"; (4) "proceed to protect and enforce its rights and remedies by lawsuit ... and if
23   [Unlimited] recovers a judgment .. . [SDLA] shall be liable for all of Company' s costs of the
24   lawsuit, including but not limited to reasonable attorneys ' fees and court costs"; (5) "sign an

25   executed assignment oflease of Merchant' s business premises in favor of the [Unlimited]"; and
26   (6) "debit .. .depository accounts wherever situated by means of ACH debt.. .for all sums due to
27   Company."

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                                          VERIFI ED COMPLA INT - 12
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24             Page 13 of 31 Page ID
                                                #:13



 1      58. The MCA Agreement contains broad definitions of Events of Default that are designed

 2   to maintain as much control over the borrower' s business as possible and to maximize

 3   likelihood that a default will occur under normal circumstances. The Events of Default are

 4   further designed to eliminate a borrower's ability to defend itself from Unlimited' s predatory

 5   lending practices and maximize Unlimited's ability to collect the full value of the Purchased

 6   Amount.

 7      59. Under Section 3.1 , "Events of Default" include, but are not limited to the following : (1)

 8   "Merchant or any Guarantor shall violate any term or covenant in this Agreement or any other

 9   MCA Document"; (2) "Merchant fails to pay (or cause to be paid) any fees described on

10   Appendix A attached hereto when and as required to be paid ... "; (3) "the sending of notice of
11   termination or notifying Company verbally or in writing of its intent to breach this Agreement";

12   (4) "Merchant shall enter into any financing agreements with any other party ... "; and (5)

13   "Merchant shall default under any of the terms, covenants, and conditions of any other

14   agreement with the Company".

15      60. In other words, an Event of Default will occur unless Unlimited receives the full

16   Remittance on time until it receives the Purchased Amount. If a Merchant attempts to do

17   anything other than make a full payment on time and when due, it is considered an Event of

18   Default. Simply put, the Events of Default are the mechanism by which Unlimited enforces the

19   absolute and unconditional payment obligations under the MCA Agreement.

20                     vi. General Positions

21      61 . The MCA Agreement sets forth other provisions that are designed to transfer risk away

22   from Unlimited and grant Unlimited with procedural and substantive protections to increase the
23   likelihood of enforcing the absolute repayment obligations under it.
24      62. For instance, Section 1.7 states that Unlimited will not be liable "for any claims" under
25   "any legal theory" for "lost profits, lost revenues, lost business opportunities, exemplary,
26   punitive, special, incidental, indirect or consequential damages, each of which is waived by
27   [SDLA] and Guarantor." Further, the provision states that "[SDLA] and Guarantor will be
28


                                         VERIFlED COMPLAINT- 13
     Case 2:24-cv-07544-TJH-AS           Document 1 Filed 09/04/24             Page 14 of 31 Page ID
                                                 #:14



 1   jointly liable for all of Unlimited attorneys' fees and expenses" if SDLA has the audacity to

 2   assert a claim against Unlimited.
 3      63. Section 4.6 of the MCA Agreement sets forth governing law provisions. The MCA

 4   Agreement states that the "Agreement shall be governed by and construed in accordance with

 5   the laws of the State of Connecticut, without regards to any applicable principals of conflict of
 6   law." The MCA Agreement further states that any actions arising from the Agreement "shall,

 7   if the Company so elects, be instituted in any court sitting in Connecticut. .. " and that SDLA

 8   waives "any right to oppose any motion or application made by [Unlimited] to transfer such

 9   proceeding to an acceptable forum. "

10      64. Upon information and belief, Unlimited has intentionally asserted Connecticut law

11   because it intends to seek a prejudgment remedy without securing a court order under

12   Connecticut General Statutes Sections 52-278a through 52-278m. As such, the MCA
13   Agreement requires SDLA to waive " ... all rights to notice and prior court hearing or court order

14   in connection with any and all prejudgment remedies to which [Unlimited] may be entitled by

15   virtue of any default or provision in this agreement and .. .all rights to request that [Unlimited]

16   post a bond ... to protect said merchant or guarantor against damages that may be caused by any

17   prejudgment remedy ... "(emphasis added). Upon information and belief, this reference to

18   Connecticut law would permit Unlimited to attach its claims to the Purchased Amount to

19   SDLA' s assets as a prejudgment remedy without a hearing or court order.

20       65 . Section 4.7 requires that all representations, warranties, and covenants "survive the
21   signing and delivery of this Agreement... until all obligations under this Agreement shall have

22   been satisfied infull and this Agreement shall have terminated." (emphasis added).

23      66. In addition, there are several representations contained in the Agreement which

24   Unlimited knew or should have known that SDLA would breach just by signing the MCA
25   Agreement. In particular, there are representations that "Merchant has good, complete,

26   unencumbered, and marketable title" which Unlimited knew was not the case. Further, there is
27   a clause that states that "Merchant' s performance under this Agreement will not cause or create
28


                                          VERIFIED COMPLAINT - 14
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 15 of 31 Page ID
                                                #:15



 1   an event of default" - which, Unlimited also knew SDLA would violate because it knew that

 2   SDLA had other contracts with other merchant cash advance lenders.

 3                                    The Connecticut Litigation

 4       67. On or about June 25, 2024, SDLA filed a complaint against Unlimited in the Superior

 5   Court, Judicial District of Stamford/Norwalk in Connecticut (the "CT Complaint").

 6       68. The CT Complaint alleged that Unlimited breached the MCA Agreement by failing to

 7   conduct an adjustment and for a breach of good faith and fair dealing. Specifically, the CT

 8   Complaint alleged that Unlimited requested a change to the Remittance prior to the occurrence

 9   of an Event of Default and Unlimited failed to perform its obligations. The CT Complaint

10   further alleged that Unlimited stated that "he was going to make sure that SDLA lost is contract

11   with Amazon and be forced into bankruptcy." The CT Complaint further alleged that Unlimited

12   called SDLA' s Chief Executive Officers a "c***sucker" and "mother****er".

13       69. The CT Complaint requested an injunction prohibiting and granting Unlimited from

14   enforcing its rights under the MCA Agreement and from accessing SDLA' s bank account,

15   acting pursuant to the power of attorney, and from taking one or more "protections against

16   default" actions.

17       70. Upon information and belief, the court granted a temporary restraining order on June

18   25 , 2024.

19                                    The Settlement Agreement

20       71. On or about June 14, 2024, Unlimited entered into an agreement with Triton to collect

21   the debt arising from the MCA Agreement.

22       72. On June 28, 2024, Unlimited granted a power of attorney to Triton.

23       73 . On July 11 , 2024 through Triton acting with authority derived from a power-of-attorney

24   and SDLA entered into a Settlement Agreement and Release (the "Settlement Agreement")

25   whereby the parties agreed to repay $900,000 in several payments. The first payment consisted

26   of a $250,000 payment via conditional release from Amazon on or before July 12, 2024. The

27   second payment consisted of a $200,000 payment via bank wire on or before July 25 , 2024.
28


                                         VERIFIED COMPLAINT - 15
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 16 of 31 Page ID
                                                #:16



 1   The last payment of $450,000 would be paid back through daily ACH payments of $5,000.00

 2   from July 15, 2024 through November 22, 2024 or ninety (90) Business Days.

 3      74. The Settlement Agreement also contained a variety of other terms onerous and one-

 4   sided terms, including, but not limited to: (1) SDLA withdraw the CT Complaint and thereby

 5   withdraw the temporary restraining order; (2) permitting Unlimited to file a UCC Lien Notice

 6   to Amazon or commencing legal action for failing to make a payment; and (3) requiring SDLA

 7   to "forever refrain and forbear from commencing, instituting, or prosecuting any lawsuit, action

 8   or other proceeding to collect or enforce the Merchant Agreement."

 9      75. SDLA signed the Settlement Agreement under economic duress as they believed they

10   had no reasonable alternative but to succumb to the terms of the Settlement or otherwise face

11   bankruptcy or financial ruin.

12                                       The UCC Lien Notice

13       76. Upon information and belief, Triton, acting on behalf of Unlimited, issued a UCC lien

14   notice to Amazon on August 2, 2024 alleging that SDLA defaulted under its obligations on

15   June 13, 2024 and demanding that Amazon send over all payments owed to SDLA to Unlimited

16   (the "UCC Lien Notice").

17       77. Triton alleged an outstanding balance of $647,378.00 balance occurring on June 13,

18   2024.

19       78. On or about August 5, 2024, Amazon, in response to receiving the UCC Lien Notice,

20   terminated SDLA' s contract and provided with three hours' notice.

21

22                                   FIRST CAUSE OF ACTION

23                                      RICO, 18 U.S.C. § 1962

24                                      (Against All Defendants)

25       79. SDLA repeats and realleges all of the paragraphs in this Complaint as though fully set

26   forth herein.

27              A. The Unlawful Activity

28


                                         VERJFIED COMPLAINT- 16
     Case 2:24-cv-07544-TJH-AS           Document 1 Filed 09/04/24             Page 17 of 31 Page ID
                                                 #:17



 1      80. There are at least three (3) predicate acts underlying the First and Second Causes of

 2   Action -- making of unlawful debts (usury); engagement in wire fraud; and collection of

 3   unlawful debts - within the past ten (10) years.

 4       81. As set forth more fully above, despite the many false statements and contract terms to

 5   the contrary, the financial arrangement between Unlimited and SDLA were loans.

 6       82. California limits the amount of interest that can be charged in connection with providing

 7   a commercial loan. Unlimited knowingly made loans to multiple California businesses.

 8       83. Here, the interest rate that Unlimited charged under the MCA Agreement was 235%.

 9       84. The disclosures Defendants made about these loans are clearly fraudulent (for example,

10   the MCA Agreement contains a representation it is a "Sale of Receipts (THIS IS NOT A
11   LOAN)" and violate California usury law, as set forth herein.

12       85. In the process of making and collecting on these loans, Defendants utilized wire
13   transfers and electronic communications to further their illegal activities.

14              B. Culpable Persons

15       86. Each and every one of the Defendants are "persons" within the meaning of 18 U.S.C. §

16   1961 (3) and 18 U.S.C. § 1962(c) in that each is either an individual, corporation, or limited

17   liability company capable of holding a legal interest in property.

18       87. At all relevant times, each of the Defendants were, and is, a person that exists separate
19   and distinct from the Enterprise, described below.

20      88. Upon information and belief, the Defendants had a legal and beneficial interest in the

21   ill-gotten proceeds derived from the Enterprise and knowingly and willfully worked in concert
22   in order to originate and collect upon usurious loans.
23              C. The Enterprise

24      89. The Defendants together constitute an Enterprise (the "Enterprise") within the meaning
25   of 18 U.S.C. §§ 1961(4) and 1962(c).

26      90. The Defendants are associated in fact and through relations of ownerships the common
27   purpose of carrying on an ongoing unlawful enterprise. Specifically, the Enterprise has a
28


                                          VERIFIED COMPLAINT - 17
     Case 2:24-cv-07544-TJH-AS           Document 1 Filed 09/04/24             Page 18 of 31 Page ID
                                                 #:18



 1   common goal of soliciting, through an array of brokers, funding, servicing, and collecting upon

 2   usurious loans that charge interest at more the enforceable rate under the laws of California.

 3      91 . Upon information and belief, since at least 2023 and continuing through the present, the

 4   members of the Enterprise have had ongoing relations with each other through common

 5   control/ownership, shared personnel and/or one or more contracts or agreement relating to and

 6   for the purpose of originating, underwriting, servicing, and collecting upon unlawful debt issued

 7   by the Enterprise to small businesses throughout the United States, including at least two prior

 8   transactions with SDLA.

 9       92. Defendant Unlimited entered into the MCA Agreement.

10      93 . Unlimited entered into one or more agreements with Triton to enforce the MCA

11   Agreement and to collect any money due and payable under the Agreement.

12       94. Defendant Unlimited, through Triton, entered into the Settlement Agreement to further

13   collect upon the unlawful debt.

14       95. Gilerman and Vargas, using Triton as an instrumentality, used deceptive acts and

15   practices to collect on the unlawful debt.

16       96. The debt evidenced by the MCA Agreement constitutes an unlawful debt within the

17   meaning of 18 U.S.C. § 1962(c) and (d) 18 U.S.C. § 1961(6) because (i) it violates applicable

18   criminal usury statutes, and (ii) the rates significantly exceed the legal rate permitted under

19   California law.

20       97. The debt evidenced by the Settlement Agreement constitutes an unlawful debt within

21   the meaning of 18 U.S.C. § 1962(c) and (d) 18 U.S.C. § 1961(6) because (i) it violates
22   applicable criminal usury statutes, and (ii) the rates significantly exceed the legal rate permitted
23   under California law.

24      98. Upon information and belief, since at least 2023 and continuing through the present, the
25   members of the Enterprise have had ongoing relations with each other through common

26   control/ownership, shared personnel and/or one or more contracts or agreements relating to and

27   for the purpose of collecting fraudulent fees through electronic wires.
28


                                          VERIFI ED COMPLATNT- 18
     Case 2:24-cv-07544-TJH-AS           Document 1 Filed 09/04/24             Page 19 of 31 Page ID
                                                 #:19



 1       99. Enterprise's misconduct also constitutes "fraud by wire" within the meaning of 18

 2   U.S.C. 1343, which is "racketeering activity" as defined by 18 U.S.C. 1961(1). Its repeated and

 3   continuous use of such conduct to participate in the affairs of the Enterprise constitutions a

 4   pattern of racketeering activity in violation of 18 U.S.C. 1962(c).

 5               D. The Roles of the RICO Persons in Operating the Enterprise, and the roles of the

 6                    individual companies within the Enterprise

 7       100.         The Defendants have organized themselves and the Enterprise into a cohesive

 8   group with specific and assigned responsibilities and a command structure to operate as a unit

 9   in order to accomplish the common goals and purposes of collecting upon unlawful debts,

10   including as follows:

11                                                 Stems
12       101.         Upon information and belief, Stems is the mastermind of the Enterprise. He is

13   responsible for the day-to-day operations of the Enterprise and has final say on all business

14   decisions of the Enterprise, including, without limitation, which usurious loans the Enterprise
15   will fund, how such loans will be funded , the payments terms, amounts, and period of each
16   usurious loan.
17       102.         In his capacity as the mastermind of the Enterprise, Stems is responsible for
18   creating, approving, and implementing policies, practices, and instrumentalities used by the

19   Enterprise to accomplish its common goals and purposes, including: (1) the form of the

20   merchant agreements used by the Enterprise to attempt to disguise the unlawful loans as

21   receivable purchase agreements to avoid applicable usury laws and conceal the Enterprise's

22   collection of unlawful debts; and (2) the method of collecting the daily payments via ACH
23   withdrawals. All such forms were used to make and collect upon the lawful loans, including,
24   without limitation, loans extended to SDLA.
25       103 .        Upon information and belief, Stern has taken actions and directed other
26   members of the Enterprise to take actions necessary to accomplish the overall goals and
27   purposes of the Enterprise, including, but not limited to, directing the affairs of the Enterprise,
28


                                          VERIFIED COMPLAINT - 19
     Case 2:24-cv-07544-TJH-AS           Document 1 Filed 09/04/24             Page 20 of 31 Page ID
                                                 #:20



 1   funding the Enterprise to collect upon the unlawful debts and executing legal documents in

 2   support of the Enterprise.

 3       104.       Stems has ultimately benefitted from the Enterprise ' s acquisition of usurious

 4   loan proceeds by Unlimited, Triton, Vargas, and Gilerman, and Does 1-20.

 5                                               Unlimited

 6       105.       Upon information and belief, Unlimited 1s organized under the laws of

 7   Connecticut and maintains officers, books, records, and bank accounts independent of Stems

 8   and the other Defendants.

 9       106.       Upon information and belief, Stems has operated Unlimited as part of an

10   unlawful enterprise to collect upon unlawful debts and commit wire fraud. Pursuant to its

11   membership in the Enterprise, Unlimited, has, upon information and belief: (1 ) entered into

12   contracts with brokers to solicit borrowers to identify targets to grant the Enterprise' s usurious

13   loans; (2) underwritten the usurious loans and determined the ultimate rate of interest to be

14   charged under each loan; (3) entered into so-called merchant cash advance agreements on

15   behalf of the Enterprise; (4) serviced the usurious loans; and (5) set up and implemented the

16   ACH withdrawals used by the Enterprise to collect on the unlawful debt.

17       107.       Unlimited, upon information and belief, solicited SDLA, through one or more

18   brokers, and underwrote the MCA Agreement, entered into the MCA Agreement, and collected

19   upon unlawful debt by effectuating daily ACH withdrawals and other payments from SDLA' s

20   accounts.

21                                                 Triton

22       108.       Upon information and belief, Triton has entered into certain agreements with

23   Unlimited to collect upon the unlawful debts.

24       109.       Triton, through Gilerman and Vargas, have operated in such a manner to use

25   unfair and deceptive trade practices to collect upon the unlawful debt and benefit from the ill-

26   gotten proceeds derived therefrom.

27                                                Vargas
28


                                          VERIFIED COMPLAINT - 20
     Case 2:24-cv-07544-TJH-AS            Document 1 Filed 09/04/24           Page 21 of 31 Page ID
                                                  #:21



 1       110.        Upon information and belief, Vargas is the CEO of Triton and conspired with

 2   Stems and Unlimited to conduct the Enterprise. Specifically, Vargas and Stems and/or

 3   Unlimited collaborated in creating and enforcing the Settlement Agreement to gain control over

 4    SDLA' s assets.

 5                                                Gilerman

 6        111.       Upon information and belief, Gilerman is the Chief Legal Officer of Triton and

 7   provides certain legal advisory services to Unlimited. Gilerman was the main person seeking

 8   to collect and enforce unlawful debt obligations.

 9        112.       Upon information and belief, Gilerman also formed and filed Unlimited' s

10   Articles of Organization with the Connecticut Secretary of State. Upon information and belief,

11    Gilerman advised Stems and/or Does 1-20 to form an entity in Connecticut in order to take

12   advantage of the prejudgment remedy in order to collect unlawful debts in a more expedient

13   manner.

14               E. Interstate Commerce

15        113.       The Enterprise is engaged in interstate commerce and uses instrumentalities of

16    interstate commerce in its daily business activities.

17        114.       Upon information and belief, all of the transactions relevant to this case were

18    conducted through ACH payments and all communications were conducted through phone, text,

19   or electronic messaging.

20        115.       Upon information and belief, the Enterprise received funds collected from other

21    illegal activities conducted within the State of California and elsewhere in the United States of

22   America.

23        116.       Further, members of the Enterprise maintain offices in Connecticut, Florida, and

24   New York. The Enterprise also use personnel in these offices to originate, underwrite, fund,

25   service, and collect upon the usurious loans made by the Enterprise through the extensive use

26   of instrumentalities of interstate commerce, including emails, mail, write transfers, and bank

27   withdrawals processed through an automated clearing house.

28


                                           VERJFIED COMPLAINT- 2 1
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 22 of 31 Page ID
                                                #:22



 1       117.        In the present case, all communications between the members of the Enterprise

 2   and SDLA were conducted by interstate email and mail, wire transfers, or ACH debits and other

 3   interstate wire communications. Specifically, the Enterprise used interstate emails to originate,

 4   underwrite, service, and collect upon the MCA Agreement and the Settlement Agreement, fund

 5   the advances under each of the MCA Agreement, and collect the payments via electronic ACH

 6   debits.
 7               F. Injury and Causation

 8       118.        SDLA has been and will continue to be injured in its business and property by

 9   reason of the Defendant's violations of 18 U.S.C. § 1962(c).
         119.        The injuries to SDLA were directly, proximately, and reasonably foreseeably

11   resulted from or caused by these violations, including, but not limited, thousands of dollars

12   improperly collected by criminally usurious loan payments, breaches of agreements with third

13   parties, the freezing of bank accounts, and laying off all employees as SDLA had no source of
14   mcome.

15       120.        SDLA has also suffered damages by incurring substantial attorneys' fees and

16   costs associated with exposing and prosecuting the Defendants' criminal activities.
17       121.        Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble damages, plus
18   costs and attorneys ' fees from Defendants.

19       122.        Plaintiffs are experiencing on-going harm for which money damages would not
20   be adequate.

21
                                    SECOND CAUSE OF ACTION
22
                                    Conspiracy, 18 U.S.C. § 1962(d)
23
                                        (Against All Defendants)
24
25       123 .       Plaintiffs repeat and reallege all of the paragraphs in this Complaint as though
26   fully set forth herein.
27
28


                                         VERIFIED COMPLAINT - 22
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 23 of 31 Page ID
                                                #:23



 1        124.      Defendants have unlawfully, knowingly, and willfully, combined, conspired,

 2   confederated, and agreed together to violate 18 U.S.C. § 1962(c) as describe above, in violation

 3   of18 U.S.C. § 1962(d).

 4        125.      By and through each of the Defendants' business relationships with one another,

 5   their close coordination with one another in the affairs of the Enterprise, and frequent use of

 6   email communications among the Defendants concerning the underwriting, funding, servicing,

 7   and collection of the unlawful loans, including the MCA Agreement and Settlement Agreement,

 8   each Defendant knew the nature of the Enterprise and each Defendant knew that the Enterprise

 9   extended beyond each Defendant's individual role. Moreover, through the same connections

10   and coordination, each Defendant knew that the other Defendants were engaged in a conspiracy

11   to collect upon unlawful debts in violation of 18 U.S.C. § 1962(c).
12        126.      Each Defendant agreed to facilitate, conduct, and participate in the conduct,

13   management, or operation of the Enterprise' s affairs in order to collect upon unlawful debts,

14   including the Agreements, in violation of 18 U.S.C. § 1962(c). In particular, each Defendant

15   was a knowing, willing, and active participant in the Enterprise and its affairs, and each of the

16   Defendants shared a common purpose, namely, the orchestration, planning, preparation, and

17   execution of the scheme to solicit, underwrite, fund and collect upon unlawful debts, including
18   the MCA Agreements.

19        127.      Each Defendants agreed to facilitate, conduct, and participate in the conduct,

20   management, or operation of the Enterprise' s affairs in order to commit wire fraud through a

21   pattern ofracketeering activity in violation of 18 U.S.C. § 1962(c).

22        128.      The participation and agreement of each of the Defendants was necessary to
23   allow the commission of this scheme.
24        129.      Plaintiffs have been and will continue to be injured in its business and property

25   by reason of Defendants' violations of 18 U.S.C. § 1962(d), in an amount to be determined at
26   trial.

27        130.      The injuries to SDLA directly, proximately, and reasonably foreseeably
28   resulting from or cause these violations of 18 U.S.C. § 1962(d) include, but are not limited to,


                                         VERIFIED COMPLAINT - 23
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 24 of 31 Page ID
                                                #:24



 1   thousands of dollars in improperly collected loan payments, termination of third-party

 2   agreements based on the Defendants' conduct, and the termination of employees resulting from

 3   Defendants' conduct.

 4       131.        Plaintiffs have also suffered damages by incurring attorneys ' fees and costs

 5   associated with exposing and prosecuting Defendant' s criminal activities.

 6       132.        Pursuant to 18 U.S.C. § 1964(c), Plaintiffs are entitled to treble damages, plus

 7   costs and attorneys' fees from Defendants.

 8
                                     THIRD CAUSE OF ACTION
 9
                    Usury, Cal. Const. Art. XV, Sec. 1 and Cal. Civ. Code § 1916-3
10
                                     (Against Unlimited and Triton)
11

12       133.        Plaintiffs repeat and reallege all of the paragraphs in this Complaint as though

13   fully set forth herein.

14       134.        The MCA Agreement constitutes a loan as defined in Cal. Civ. Code§ 1912.

15       135.        The Settlement Agreement constitutes a loan as defined in Cal. Civ. Code§ 1912.

16       136.        All repayments made, or called for, under the MCA Agreement and the

17   Settlement Agreement in excess of the legally permissible amount constitute interest as defined

18   in Cal. Civ. Code§ 1915.

19       13 7.       Defendants Unlimited and Triton, by the terms of the agreements and through

20   their actions, demonstrated that the loan and interest were absolutely repayable by Plaintiffs.

21       138.        Defendants Unlimited and Triton do not have a California Finance Lender' s

22   license pursuant to Cal. Fin. Code § 22000, et seq. and do not otherwise meet the requirements
23   for exemption from the usury limitation when entering into the MCA Agreement or the

24   Settlement Agreement.

25       139.        Defendants Unlimited and Triton, through the terms of the MCA Agreement,

26   the Settlement Agreement, and by their actions, knowingly, willfully, and intentionally charged
27   interest on the sums advanced in excess of California' s usury limitations.
28


                                         VERIFIED COMPLAINT - 24
     Case 2:24-cv-07544-TJH-AS               Document 1 Filed 09/04/24              Page 25 of 31 Page ID
                                                     #:25



 1       140.            Plaintiffs will experience immediate and irreparable injury, loss, or damages, for

 2   which money damages will not be adequate.

 3

 4
                                         FOURTH CAUSE OF ACTION
 5
                 Unfair and Deceptive Acts and Practices, Cal. Bus. & Prof. Code§ 17200
 6
                                    (Against Unlimited, Triton, and Does 1-20)
 7

 8       141 .           Plaintiffs repeat and reallege all of the paragraphs in this Complaint as through

 9   fully set forth herein.

10       142.            Defendants Unlimited, Triton, and Does 1-20 engaged in unfair business

11   practices as defined in Cal. Bus. & Prof Code§ 17200, specifically, they engaged in (1) "acts

12   or practices which are unlawful and/or or unfair, or (2) fraudulent; and (3) the MCA Agreements

13   were unconscionable.

14       143.            Specifically, Defendants engaged in one or more of the following unlawful,

15   unfair, and/or fraudulent practices:

16                  1.   Violation of California Constitution, Article XV, Section 1, prohibitions against

17                       usury.

18                 11.   Lending without a CFL License in violation of Fin. Code§ 22000, et seq.

19                111.   Conducting business within the State of California without having first obtained

20                       a certificate of qualification from the Secretary of State of California in violation

21                       of Cal. Corp. Code§§ 2105 and 2203.

22        144.           In addition, the MCA Agreement and the Settlement Agreement were
23   procedurally and substantively unconscionable. The terms of the MCA Agreement and the

24   Settlement Agreement constitute contracts of adhesion, where the contract terms were outside

25   the reasonable expectations of the weaker party and were unduly oppressive. Further, the MCA

26   Agreement was written in a font so small as to be barely legible without magnification and

27   SDLA had no bargaining power to negotiate the MCA Agreement and the Settlement

28   Agreement and did not have any other meaningful choice. Further, the MCA Agreement and


                                               VERJFIED COMPLAINT - 25
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 26 of 31 Page ID
                                                #:26



 1   the Settlement Agreement were substantively unconscionable because the terms of the

 2    agreement reallocate risks such that Plaintiffs bear all risk in a manner that shocks the

 3    conscience and violates public policy.

 4        145.       Plaintiffs will experience immediate and irreparable injury, loss, or damage for

 5    which money damages will not be adequate.

 6
                                     FIFTH CAUSE OF ACTION
 7
                         Intentional Interference with Contractual Relations
 8
                                      (Against Unlimited and Triton)
 9

10        146.       Plaintiffs repeat and reallege all of the paragraphs of the Complaint as if fully

11   set forth herein.

12        147.       Upon information and belief, SDLA had entered into a contract with Amazon to

13   provide courier services (the "Amazon Agreement").

14        148.       At all relevant times, the Amazon Agreement was valid and enforceable.

15        149.       Unlimited and Triton had knowledge of the Amazon Agreement and knew that

16   Amazon was SDLA' s only customer.

17        150.       Defendants Unlimited and Triton disrupted the relationship by placing a UCC

18   Lien Notice on August 2, 2024 on moneys held by Amazon on behalf of SDLA, thereby

19   disrupting SDLA' s right to receive payment from Amazon and adversely impacting its ability

20   to pay SDLA' s employees because SDLA was unable to obtain revenue. As a result, Amazon

21   terminated the Amazon Agreement with SDLA on August 5, 2024.

22        151.       Unlimited and Triton knew that the interference with the contractual relationship
23   between SDLA and Amazon was certain or substantially certain to occur because Unlimited
24   had issued correspondence to SDLA stating that it "was going to make sure that SDLA lost is
25   contract with Amazon and be forced into bankruptcy."
26        152.       As a direct, foreseeable, and proximate result of Unlimited and Triton' s actions
27   Plaintiffs suffered economic harms, including direct and consequential damages loss of profits,
28


                                          VERIFIED COMPLAINT - 26
     Case 2:24-cv-07544-TJH-AS            Document 1 Filed 09/04/24            Page 27 of 31 Page ID
                                                  #:27



 1   future profits, and diminution of value in the business in an amount estimated to be $15 Million

 2   Dollars.

 3            153 .   Pursuant to Cal. Civ. Code § 3294, Unlimited and Triton engaged in conduct

 4   that was fraudulent, oppressive, and malicious, thereby warranting punitive damages in an

 5   amount to be determined at trial.

 6            154.    Plaintiffs have also suffered damages by incurring attorneys' fees and costs
 7   associated with Unlimited and Triton's brazen, malicious, and fraudulent conduct.

 8            155.    Plaintiffs will also experience immediate and irreparable injury, loss, or

 9   damages for which money damages will not be adequate.

10
                                      SIXTH CAUSE OF ACTION
11
                                            Breach of Contract
12
                                            (Against Unlimited)
13

14            156.    Plaintiffs repeat and reallege all of the paragraphs in this Complaint as though

15   fully set forth herein.

16            157.    SDLA and Unlimited entered into the MCA Agreement.

17            158.    On June 13, 2024, no Event of Default had occurred and SDLA had requested a

18   change in the Remittance amount pursuant to Section 1.3 of the MCA Agreement.

19            159.    Unlimited did not modify the amount of the Remittance to more closely reflect
20   SDLA' s actual receipts.

21            160.    As such, Unlimited failed to perform its obligations under the MCA Agreement,
22   constituting a material breach of the MCA Agreement.
23            161.    Plaintiffs were harmed as a result in amounts and in manner subject to proof at
24   trial.

25            162.    Unlimited' s breach was a substantial factor in causing Plaintiffs' harm.
26
                                    SEVENTH CAUSE OF ACTION
27
                      Breach of Implied Covenant of Good Faith and Fair Dealing
28
                                       (Against Unlimited and Triton)

                                           VERIFIED COMPLAINT - 27
     Case 2:24-cv-07544-TJH-AS          Document 1 Filed 09/04/24            Page 28 of 31 Page ID
                                                #:28



 1        163.       Plaintiffs repeat and reallege all of the paragraphs in this Complaint as though

 2   fully set forth herein.

 3        164.       SDLA has attempted to work with Unlimited and Triton in good faith by giving

 4   notice to Unlimited that it requested a modification to the Remittance and by informing Triton

 5   that it was unable to comply with the terms of the Settlement Agreement because other

 6   merchant cash advance lenders had frozen its bank accounts.

 7        165.       Unlimited and Triton prevented Plaintiffs from receiving the benefits under the
 8   MCA Agreement and Settlement Agreement by providing assistance with the financing of

 9   business operations. Unlimited and Triton created agreements and repayment obligations that

10   made it impossible for SDLA to perform and actually conduct business. Unlimited and Triton

11   knowingly created these contracts with the intent that SDLA would fail to meet its obligations

12   in order to extract as much money from the business as possible.

13        166.       By doing so, Unlimited and Triton acted in bad faith.
14        167.       Plaintiffs were harmed by Unlimited and Triton' s conduct in an amounts to be
15   determined at trial.

16
                                    EIGHTH CAUSE OF ACTION
17
                                     Fraudulent Misrepresentation
18
                                        (Against All Defendants)
19

20        168.       Plaintiffs repeat and reallege each and every paragraph of this Complaint as if
21   fully set forth herein.

22        169.       Defendants presented to SDLA agreements which contained, within their
23   language, intentional misrepresentations, including, but not limited to, the following: (1)
24   statements that the arrangements were "sales" and "not loans"; (2) representations that
25   payments did not constitute interest, when in fact, the rate was in excess of 200%; and (3) that
26   Unlimited bore the risk ofloss of a slowdown in SDLA' s business operations.
27        170.       Defendants knew that the representations were false or made the representations
28   recklessly and without regard for the truth.


                                         VERlFIED COMPLAINT - 28
     Case 2:24-cv-07544-TJH-AS             Document 1 Filed 09/04/24            Page 29 of 31 Page ID
                                                   #:29



 1            171.     Plaintiffs reasonably relied on Defendants' representations and were induced to

 2   enter into the MCA Agreement and the Settlement Agreement by these fraudulent and deceitful

 3   representations.

 4            172.     Plaintiffs were harmed in amounts and in a manner subject to proof at trial,

 5   including, but not limited to, all interest paid on the loans under the MCA Agreement and

 6   Settlement Agreement above the legally permissible rate represented by Defendants.

 7            173.     Plaintiffs reliance on these representations was a substantial factor in causing

 8   its harm. Plaintiffs paid Defendants at least $800,000.00 under the merchant cash advance

 9   agreements.

10            174.     Entering into these Agreements and the Defendants' unlawful collection
11   practices caused Amazon to terminate its contract with SDLA.
12
                                       NINTH CAUSE OF ACTION
13
                                             Unjust Enrichment
14
                                        (Against Unlimited and Triton)
15

16            175.     Plaintiffs repeat and reallege all of the paragraphs of this Complaint as though
17   fully set forth herein.
18            176.     Unlimited and Triton were unjustly enriched when it received repayments in
19   excess of amounts that would be permissible under California law, a benefit that it would not
20   have otherwise obtained thought a legally compliant loan process.
21            177.     Unlimited and Triton have been unjustly enriched in amounts subject to proof at
22   trial.
23                                        PRAYER FOR RELIEF

24   WHEREFORE, Plaintiffs seek judgment against the Defendants as follows:

25   A.         Direct damages according to proof at trial, estimated to be $15 Million Dollars;
26   B.         Compensatory, indirect, and consequential damages according to proof at trial;
27   C.         Treble damages under 18 U.S.C. § 1964(c);
28


                                            VERIFIED COMPLAINT - 29
     Case 2:24-cv-07544-TJH-AS             Document 1 Filed 09/04/24            Page 30 of 31 Page ID
                                                   #:30



 1   D.        An order preventing and restraining Stems, Vargas, and Gilerman from engaging in the

 2   activities of the Enterprise and divesting all of their respective interests in Unlimited and Triton

 3   under 18 U.S.C. § 1964 (a);

 4   E.        Voiding the MCA Agreement pursuant to Cal. Rev. & Tax Code§ 23304.1;

 5   F.        Voiding the Settlement Agreement pursuant to Cal. Rev. & Tax Code§ 23304.1 ;

 6   G.        Punitive damages as allowed by law;

 7   H.        Restitution;

 8   I.        Attorneys ' fees and cost, as permissible under law; and

 9   I.        Such other and further relief as this case may require and the Court deems just and

10   proper.

11
     Date: September 4, 2024                            MIRSKY CORPORATE ADVISORS, APC
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                                                            Attorney for Plaintiffs
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                                           VERIFI ED COMPLAINT - 30
     Case 2:24-cv-07544-TJH-AS            Document 1 Filed 09/04/24              Page 31 of 31 Page ID
                                                  #:31




 1                                            VERIFICATION

 2     I, John Goodman, declare as follows:

 3          1. I am the Chief Executive Officer of SDLA Courier Service, Inc, a party to this action.

 4          2. I have read the foregoing Complaint and know its contents.

 5          3. I am authorized to make this verification for SDLA Courier Service, Inc. and make this

 6    verification for that reason.

 7          4. The matters stated in the Complaint are true to my own knowledge, except as to matters

 8    which therein are stated upon information or belief, and, as to those matters, I believe them to

 9     be true.

10

11     I declare under penalty of perjury under the laws of the State of California that the foregoing is

12    true and correct.

13

14     SDLA Courier Service, Inc.

15

16    By:
                    ~.
17    Name: John Goodman

18    Title: CEO

19

20    Dated: September 4, 2024

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                                            VERIFIED COMPLAINT - 3 1
